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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                         )
                                       )
            Plaintiff,                 )
                                       )
                                           Case No. 2:22-cv-293-JRG
      vs.                              )
                                       )
                                           JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;           )
SAMSUNG ELECTRONICS AMERICA,           )
INC.; SAMSUNG SEMICONDUCTOR            )
INC.,                                  )
                                       )
            Defendants.                )


PLAINTIFF NETLIST, INC.’S RESPONSE TO SAMSUNG’S MOTION TO EXPEDITE
                          BRIEFING (DKT. 860)
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          Samsung asked that Netlist provide its response to Samsung’s motion opposing the

  Court’s decision to set a hearing for the preliminary injunction motion on December 23 (Dkt.

  859) in three business days. To move the process forward as fast as possible given the importance

  of the preliminary injunction motion to Netlist, Netlist voluntarily agreed to provide a response

  in three calendar days by the end of Monday, December 9.

          Samsung’s additional proposal that it is entitled to file a reply but Netlist is not entitled to

  file a sur-reply is both one sided and wasteful. An opening and reply brief will fully air the issues

  in its motion to delay the preliminary injunction hearing (Dkt. 859), which is not complicated.

          As a practical matter, Samsung’s demands in its motion effectively remove any meaningful

  chance of an injunction coming into effect in a timely manner given the length of the post-trial

  process, that permanent injunctions are generally stayed pending appeal, and that the time for

  decision of normal Federal Circuit appeals will extend beyond when the infringing product will

  cease being sold. At the Federal Circuit, an average non-precedential opinion is taking 65 weeks

  and an average precedential opinion is taking 108 weeks. The Federal Circuit has not occupied

  the space of the timing to determine a preliminary injunction as an area unique to patent law.

  Samsung’s demands in its motion to delay the preliminary injunction flatly contradict Fifth Circuit

  precedent: “[i]t's generally understood that a motion for preliminary injunctive relief ‘must be

  granted promptly to be effective,’ so if a district court does not timely rule on a preliminary-

  injunction motion, it can effectively deny the motion. We have accordingly recognized that simply

  sitting on a preliminary-injunction motion for too long can effectively deny it.” In re Fort Worth

  Chamber of Com., 100 F.4th 528, 533 (5th Cir. 2024). The Fifth Circuit has also provided guidance

  on when delaying determination of a preliminary injunction is an effective denial:

          Among the considerations when determining whether a district court has
          waited too long to rule on a motion is "the urgency of preliminary relief as a
          means of preserving the opportunity for effective permanent relief." Id.



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          Samsung believes the jury’s verdict and the entry of judgment immunizes it from an

  injunction. It can make that argument in opposition to the motion for preliminary injunction and

  the Court can determine the issue. It does not want to do this because its position is flatly

  contradicted by controlling Federal Circuit precedent. Texas Advanced Optoelectronic Sols., Inc. v.

  Renesas Elecs. Am., Inc., 895 F.3d 1304, 1331 (Fed. Cir. 2018). The jury in Texas Advanced awarded

  $73,653.51 as reasonable royalty for patent infringement. Id. at 1310. The district court held that

  the award of a reasonable royalty barred injunction: “The district court denied TAOS’s request

  for an injunction upon finding that, because TAOS had requested a reasonable royalty as

  compensation for past infringement, a reasonable royalty should be adequate to compensate

  TAOS for future infringement.” Id. at 1331. The Federal Circuit vacated the denial of injunction:

  “A patentee may find a royalty to be the most appropriate remedy for past infringement: it may

  best measure those harms which are reliably measurable. That does not mean, however, that there

  do not exist the kinds of hard-to-measure harms, such as impaired goodwill and competitive

  position, that can justify injunctions to prevent them before they occur (precisely because they

  are hard to quantify later).” In Wirtgen Am., Inc. v. Caterpillar, Inc., 2024 WL 4216057, at *26 (D.

  Del. Sept. 17, 2024), the jury awarded “a lump sum royalty.” The Defendant argued that the

  damages award barred an injunction and the court rejected this argument: “Caterpillar retorts that

  Wirtgen did estimate its damages at trial. But there's nothing inconsistent with a patentee proving

  its damages at trial (as it has the burden to do) and then asking for injunctive relief.” Id. at *23.

  Dated: December 6, 2024                            Respectfully submitted,

                                                     /s/ Jason Sheasby

                                                     Samuel F. Baxter
                                                     Texas State Bar No. 01938000
                                                     sbaxter@mckoolsmith.com
                                                     Jennifer L. Truelove
                                                     Texas State Bar No. 24012906
                                                     jtruelove@mckoolsmith.com


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                                                MCKOOL SMITH, P.C.
                                                104 East Houston Street Suite 300
                                                Marshall, TX 75670
                                                Telephone: (903) 923-9000
                                                Facsimile: (903) 923-9099

                                                Jason Sheasby (pro hac vice)
                                                jsheasby@irell.com
                                                Annita Zhong, PhD (pro hac vice)
                                                hzhong@irell.com
                                                Andrew Strabone (pro hac vice)
                                                astrabone@irell.com
                                                Michael W. Tezyan (pro hac vice)
                                                mtezyan@irell.com
                                                IRELL & MANELLA LLP
                                                1800 Avenue of the Stars, Suite 900
                                                Los Angeles, CA 90067
                                                Tel. (310) 277-1010
                                                Fax (310) 203-7199

                                                Rebecca Carson (pro hac vice)
                                                rcarson@irell.com
                                                IRELL & MANELLA LLP
                                                840 Newport Center Drive, Suite 400
                                                Newport Beach, CA 92660

                                                Attorneys for Plaintiff Netlist, Inc.

                               CERTIFICATE OF SERVICE

         I hereby certify that, on December 6, 2024, a copy of the foregoing was served to all

  counsel of record.

                                                     /s/ Jason Sheasby
                                                     Jason Sheasby




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